            Case 23-02734-5-JNC                   Doc 1 Filed 09/19/23 Entered 09/19/23 10:43:58                                  Page 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JSmith Civil, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          PDBA BridgePoint Civil, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3733 U.S. Highway 117 N                                         PO Box 857
                                  Goldsboro, NC 27530                                             Goldsboro, NC 27530
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case 23-02734-5-JNC                      Doc 1 Filed 09/19/23 Entered 09/19/23 10:43:58                                       Page 2 of 34
Debtor    JSmith Civil, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    JSmith Civil, LLC                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   JSmith Civil, LLC                                                          Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    JSmith Civil, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2023
                                                  MM / DD / YYYY


                             X /s/ Jeremy Smith                                                           Jeremy Smith
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Joseph Z. Frost                                                         Date September 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joseph Z. Frost
                                 Printed name

                                 BUCKMILLER, BOYETTE & FROST, PLLC
                                 Firm name

                                 4700 Six Forks Road, Suite 150
                                 Raleigh, NC 27609
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-296-5040                  Email address      jfrost@bbflawfirm.com

                                 44387 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         JSmith Civil, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 19, 2023              X /s/ Jeremy Smith
                                                           Signature of individual signing on behalf of debtor

                                                            Jeremy Smith
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
              Case 23-02734-5-JNC                Doc 1 Filed 09/19/23 Entered 09/19/23 10:43:58                                               Page 7 of 34


 Fill in this information to identify the case:
 Debtor name JSmith Civil, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Bridgepoint                                                                   Contingent                                                                      $559,484.42
 Construction                                                                  Unliquidated
 Services                                                                      Disputed
 Attn: Manager,
 Agent, Officer
 600 N. Duke Street
 Durham, NC 27701
 BridgePoint General                                                           Contingent                                                                      $559,484.42
 Contracting                                                                   Unliquidated
 Attn: Manager,                                                                Disputed
 Agent, Officer
 600 N. Duke Street
 Durham, NC 27701
 Bullington                                                                    Disputed                                                                        $189,042.69
 Construction Inc
 Attn: Manager,
 Agent, Officer
 164 American Drive
 Oakboro, NC 28129
 Capital City Curb &                                                           Disputed                                                                        $187,350.26
 Gutter, LLC
 Attn: Manager,
 Agent, Officer
 2607 Leighton Ridge
 Drive
 Wake Forest, NC
 27587
 Copperhead Cove                                                               Disputed                                                                        $140,242.16
 Marine, Inc.
 Attn: Manager,
 Agent, Officer
 2971 Vicky Drive
 Dillon, SC 29536




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    JSmith Civil, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 David McConnell                                                               Contingent                                                                      $559,484.42
 White                                                                         Unliquidated
 1520 Crenshaw                                                                 Disputed
 Point
 Wake Forest, NC
 27587
 Eastern NC                                                                    Disputed                                                                        $194,072.00
 Underground Inc
 Attn: Manager,
 Agent, Officer
 96 Red Angus Drive
 Smithfield, NC
 27577
 Ferguson                                                                      Disputed                                                                        $128,183.21
 Enterprises
 Attn: Manager,
 Agent, Officer
 PO Box 100289
 Atlanta, GA
 30384-0286
 First Citizens Bank                                                           Disputed                                                                        $131,265.03
 Attn: Manager,
 Agent, Officer
 PO Box 63068
 Charlotte, NC
 28263-3068
 Fulcher Electric of                                                           Disputed                                                                        $155,154.00
 Fayetteville
 Attn: Manager,
 Agent, Officer
 PO Box 2799
 Fayetteville, NC
 28302
 Gomez & Sons                                                                  Disputed                                                                        $204,825.50
 Construction, LLC
 Attn: Manager,
 Agent, Officer
 375 Madison
 Avenue
 Princeton, NC 27569
 Martin Marietta                                                               Disputed                                                                        $153,369.52
 Attn: Manager,
 Agent, Officer
 PO Box 935043
 Atlanta, GA
 31193-5043
 Oldcastle Precast                                                             Disputed                                                                      $1,435,824.98
 Inc.
 Attn: Manager,
 Agent, Officer
 PO Box 402721
 Atlanta, GA
 30384-2721

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    JSmith Civil, LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Ruston Paving                                                                 Disputed                                                                        $201,976.42
 Company, Inc.
 Attn: Manager,
 Agent, Officer
 3874 South Alston
 Ave, Ste. 101
 Durham, NC 27713
 S.T. Wooten                                         Construction              Disputed                                                                        $246,537.01
 Corporation                                         Services (U.S.
 Attn: Manager,                                      Highway 117
 Agent, Officer                                      Project)
 PO Box 2408
 Wilson, NC 27893
 Shelley McPhatter                                                             Contingent                                                                      $559,484.42
 1520 Crenshaw                                                                 Unliquidated
 Point                                                                         Disputed
 Wake Forest, NC
 27587
 Smith-Rowe, LLC                                                               Disputed                                                                        $178,959.27
 Attn: Manager,
 Agent, Officer
 639 Old US 52 South
 Mount Airy, NC
 27030
 Synergi Partners                                                              Disputed                                                                        $279,964.92
 Inc.
 Attn: Manager,
 Agent, Officer
 PO Box 5599
 Florence, SC
 29502-5599
 Vertical Walls, Inc.                                                          Disputed                                                                        $331,887.80
 Attn: Manager,
 Agent, Officer
 710 W. Lane Street
 Raleigh, NC 27603
 Vortex Drainage                                                               Disputed                                                                        $727,490.32
 Systems, LLC
 Attn: Manager,
 Agent, Officer
 1113 Fairview Street
 Durham, NC 27707




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                               United States Bankruptcy Court
                                                  Eastern District of North Carolina
 In re    JSmith Civil, LLC                                                                       Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:      September 19, 2023                            /s/ Jeremy Smith
                                                         Jeremy Smith/President
                                                         Signer/Title
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1st & Goal Hauling Inc.                 64 Portables Inc.                 A & M Construction Services, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1735 Chatham Ridge Cir Unit 307         280 Cunningham Brickyard Rd       PO Box 4277
Charlotte, NC 28273                     Lexington, NC 27292               Asheboro, NC 27204



A&B Portable Toilets                    A-1 Sandrock Inc.                 AA Grading Construction LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
2544 Alamance Church Road               PO Box 77077                      1930 Gurganus Rd
Greensboro, NC 27406                    Greensboro, NC 27417-7077         Snow Hill, NC 28580



AAA Paving of Winston-Salem             Adams Products                    Advance Auto Parts
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
120 Peddycord Park Drive                PO Box 281479                     PO Box 742063
Kernersville, NC 27284                  Atlanta, GA 30384-1479            Atlanta, GA 30374-2063



Advance Concrete LLC                    Advanced Portable Toilets         Aero Photo
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
4500 Waterfield Drive                   321 Jeffreys Road                 100 Cessna Lane
Garner, NC 27529                        Rocky Mount, NC 27804             Spicewood, TX 78669



Aguila's Masonry Services               Ahern Rentals                     Airflow Products Company, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 837                              PO Box 271390                     100 Oak Tree Drive
Siler City, NC 27344                    Las Vegas, NV 89127-1390          Selma, NC 27576



Airgas USA, LLC                         Alcrete Industries LLC            All Carolina Crane Rental
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 734672                           620 Mildred Thomas Court          6108 Triangle Drive
Dallas, TX 75373-4672                   Jacksonville, NC 28540            Raleigh, NC 27617



Alliance Hose & Tube Works Inc.         Allied Fence Company of Raleigh   Allied Trailers - Raleigh
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
6212-A West Gate Rd                     5840 Lease Lane                   PO Box 427
Raleigh, NC 27617                       Raleigh, NC 27617                 Savage, MD 20763



Ally Bank                               Alonso's Construction Company     ALP Industries, Inc.
Attn: Payment Processing Center         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 9001951                          536 Madison Ave                   PO Box 781712
Louisville, KY 40290-1951               Princeton, NC 27569               Philadelphia, PA 19178-1712



ALS of North Carolina, LLC              American Materials Company, LLC   Amezquita Construction LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
502 Klumac Road                         PO Box 745852                     201 Meadow Lane
Salisbury, NC 28144                     Atlanta, GA 30374-5258            Clayton, NC 27520
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Antonio Vega Avila                       Arborex Tree Services              Ascendum Machinery Inc.
3753 Arrington Bridge Rd                 Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Seven Springs, NC 28578                  4605 Windy Know Road               3561 Jones Sausage Road
                                         Raleigh, NC 27616                  Garner, NC 27529



Ashley Henderson                         Asphalt Emulsion Industries, LLC   Asphalt Services on Demand Inc
240 Sambo Road                           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Goldsboro, NC 27530                      3617 Nine Mile Road                959 Short Journey Road
                                         Richmond, VA 23223                 Smithfield, NC 27577



Atlantic Surveying PA                    Auto Value Parts Stores            B&K Grading and Paving, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
111 S. Queen Street                      PO Box 30170                       2929 Quality Drive
Kinston, NC 28501                        Rochester, NY 14603-3170           Petersburg, VA 23805



Balfour Beatty Construction              Bank of America                    Bank of the West
Attn: Manager, Agent, Officer            Attn: Equipment Finance            Attn: Equipment Finance
406 S. McDowell Street, Ste. 200         PO Box 7167                        PO Box 7167
Raleigh, NC 27601                        Pasadena, CA 91109-7167            Pasadena, CA 91109-7167



Bank of the West                         Barbco Inc.                        Barnes Hauling Company, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1625 West Fountainhead Parkway           PO Box 30189                       3640 Eagle Farm Drive N
Tempe, AZ 85282                          East Canton, OH 44730              Wilson, NC 27896



Barnes Transportation Services Inc.      Barnhill Contracting Company       Batteries of NC, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
2309 Whitley Road                        800 Tiffany Blvd, Ste. 200         PO Box 1969
Wilson, NC 27896                         Rocky Mount, NC 27804              Lillington, NC 27546



Bee Legend Grading and Construction      Benchmark Tool & Supply, Inc.      Best Logistics Group
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
195 Eatmon Rd                            2720 Discovery Drive               829 Graves Street
Zebulon, NC 27597                        Raleigh, NC 27616                  Kernersville, NC 27284



Black's Tire Service                     Blackhawk Network, Inc.            Blackmon Companies
Attn: Manager, Agent, Officer            c/o Wells Fargo                    Attn: Manager, Agent, Officer
PO Box 919                               420 Montgomery Street              724 S. 3rd Street
Whiteville, NC 28472                     San Francisco, CA 94104            Smithfield, NC 27577



Blackstock Consulting, Inc.              Blue Stream Environmental LLC      Booth Trucking
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
2228 Colony Road                         2591 King William Drive            146 Slate Top Road
Charlotte, NC 28209                      Kernersville, NC 27284             Clayton, NC 27520
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Borco Inc.                                Branch Civil, Inc.                   Bridgepoint Construction Services
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
216 Estuary Court                         PO Box 40004                         600 N. Duke Street
Winnabow, NC 28479                        Roanoke, VA 24022                    Durham, NC 27701



BridgePoint General Contracting           Brightspeed                          Brodie Contractors
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
600 N. Duke Street                        PO Box 6102                          3901 Computer Drive
Durham, NC 27701                          Carol Stream, IL 60197-6102          Raleigh, NC 27609



Bruce Spears                              Bullington Construction Inc          Burtch Trucking Company
7605 Jenks Road                           Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
Apex, NC 27523                            164 American Drive                   605 Indian Camp Rd
                                          Oakboro, NC 28129                    Smithfield, NC 27577



Busbee Concrete Services Inc.             C & R Tree Service, Inc.             C&B Piping Inc
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 106                                522 North 3rd Street                 PO Box 942
Benson, NC 27504                          Saint Pauls, NC 28384                Leeds, AL 35094



C&C Industrial Inc.                       Caliber Builders, LLC                Campbell Oil Company, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
7991 Beasley Road                         3924 Browning Place                  PO 637
Whitakers, NC 27891                       Raleigh, NC 27609                    Elizabethtown, NC 28337



Canady's Heavy Truck Parts, Inc.          Cape Fear Precast, LLC               Capital City Curb & Gutter, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
5779 Hwy 70 West                          PO Box 98                            2607 Leighton Ridge Drive
La Grange, NC 28551                       Jacksonville, NC 28541               Wake Forest, NC 27587



Carolina Cat                              Carolina Containers & Transport      Carolina Drilling Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 75054                              3608 S. Wilmington Street            326 Railroad Street
Charlotte, NC 28275-0054                  Raleigh, NC 27603                    Mocksville, NC 27028



Carolina Environmental Contracting        Carolina Form & Shoring Supply       Carolina Ice Co., Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 1905                               PO Box 155                           2466 Old Poole Road
Mount Airy, NC 27030                      Eola, IL 60519                       Kinston, NC 28504



Carolina Multifamily Construction         Carolina Pavement Technology, Inc.   Carolina Sunrock LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
403 Corporate Center Dr Ste 201           930 West Chatham Street              200 Horizon Drive, Ste. 100
Stockbridge, GA 30281                     Cary, NC 27511                       Raleigh, NC 27615
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Carquest Auto Parts                     Cat Financial Services            Caterpillar Financial Services Corp
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 404875                           PO Box 730681                     2120 West End Ave
Atlanta, GA 30384-4875                  Dallas, TX 75373                  Nashville, TN 37209



CCS                                     Central Carolina Seeding Inc.     CenturyLink
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
5428 NC Hwy 96 W                        7255 US Hwy 64E                   PO Box 2348
Youngsville, NC 27596                   Lexington, NC 27292               Seattle, WA 98111-2348



Certified Concrete Construction Inc     Certified Laboratories Division   Chandler Concrete Co., Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 91298                            23261 Network Place               PO Box 131
Raleigh, NC 27675                       Chicago, IL 60673                 Burlington, NC 27216



Chase Ink                               Chase Sapphire                    Childers Concrete Company
Card Member Services                    Card Member Services              Attn: Manager, Agent, Officer
PO Box 1423                             PO Box 1423                       200 Wise Avenue
Charlotte, NC 28201-1423                Charlotte, NC 28201-1423          High Point, NC 27260



Christian Acosta                        CIT                               CIT Bank, N.A.
4069 County Line Road                   Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
La Grange, NC 28551                     21146 Network Place               10201 Centurion Parkway N #100
                                        Chicago, IL 60673-1211            Jacksonville, FL 32256



CITI, LLC                               Citizens One Auto Finance         City of Durham
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 33758                            PO Box 42113                      PO Box 30041
Charlotte, NC 28233                     Providence, RI 02940-2113         Durham, NC 27702-3041



City of Fayetteville                    City of Goldsboro                 City of Greenville
Safelite Program                        Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 742503                           200 N Center Street               200 West Fifth Street
Cincinnati, OH 45274-2503               Goldsboro, NC 27530               Greenville, NC 27858



City of High Point                      City of Jacksonville              City of Raleigh
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 230                              PO Box 128                        PO Box 71081
High Point, NC 27261                    Jacksonville, NC 28541            Charlotte, NC 28272-1081



City of Thomasville                     City of Winston-Salem             Civil Contracting, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Matthew P. Jones, Reg. Agen
10 Salem Street                         PO Box 2511                       101 Preston Road
Thomasville, NC 27360                   Winston Salem, NC 27102           Smithfield, NC 27577
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Clancy & Theys Construction Co         Clark Pavement Marking, Inc.        Classic Chrysler Dodge Jeep Ram
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
516 West Cabarrus Street               PO Box 1029                         306 N. Oak Forest Road
Raleigh, NC 27603                      Apex, NC 27502                      Goldsboro, NC 27534



Clear-Con, LLC                         ClearElectric                       Clearwater, Inc
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
5423 US 70 Bus W                       PO Box 2676                         PO Box 1469
Clayton, NC 27520                      Hickory, NC 28603                   Hickory, NC 28603



Coastal Carolina Pumping Inc.          Coastal Cleaning & Grading Inc      Coastal Lasers Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 7767                            PO Box 412                          1406-1 Castle Hayne Road
Charlotte, NC 28241                    Pantego, NC 27860                   Wilmington, NC 28401



Colonial Oil Industries Inc.           Commercial Ready Mix Products Inc   Concrete Pipe & Precast
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 744934                          PO Box 189                          210 Stone Spring Road
Atlanta, GA 30374-4934                 Winton, NC 27986                    Harrisonburg, VA 22801



Concrete Supply Co., LLC               Conequip Parts & Equipment          Conner Gwyn Schenck PLLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 890568                          2712 West Avenue                    3141 John Humphries Wynd Ste 10
Charlotte, NC 28289-0568               Newfane, NY 14108                   Raleigh, NC 27612



Consolidated Pipe & Supply Co., Inc    Construction Software Solutions     Cooper Electrical Constuction Co
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 2153                            4195 Douglas Ave Unit 570           PO Box 20282
Birmingham, AL 35287-3147              Sedalia, CO 80135                   Greensboro, NC 27420-0282



Copperhead Cove Marine, Inc.           CopyPro                             Cor Supply and Rental
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
2971 Vicky Drive                       3103 Landmark Street                220 Airport Road
Dillon, SC 29536                       Greenville, NC 27834                Greenville, NC 27834



Core & Main, LP                        County of Brunswick                 County of Montgomery
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 28330                           PO Box 249                          102 East Spring Street
Saint Louis, MO 63146                  Bolivia, NC 28422                   Troy, NC 27371



Court One                              Covenant Crew Construction, LLC     Cozart Company, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
59 Craftsman Drive                     245 Beckwith Ave                    7260 Schooner Road
Youngsville, NC 27596                  Clayton, NC 27527                   Bailey, NC 27807
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Creative Contrete Construction          Crowder Trucking                    Crown Screening
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
608 White Oak Pond Rd                   6776 St. Julian Way                 PO Box 10748
Apex, NC 27523                          Fayetteville, NC 28314              Goldsboro, NC 27532



Cruz Brothers Concrete, Inc.            CS Tree Services, Inc.              CSC Awnings, Inc
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1572 Payne Road, Lot 75                 1612 Burgess Hill Court             3950 N. Liberty Street
Graham, NC 27253                        Apex, NC 27539                      Winston Salem, NC 27105



CSX Transportation, Inc.                Cumberland County Tax Collector     Curtin Co
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
500 Water Street (C-115)                117 Dick Street, Rm 530             11900 Goodrich Drive
Jacksonville, FL 32202                  Fayetteville, NC 28301              Charlotte, NC 28273



D&A Lincoln's Trucking                  D&J Sand and Gravel Inc             Daigh Company, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 48416                            226 Old Grantham Road               84 Buford Dam Road
Cumberland, NC 28331                    Goldsboro, NC 27530                 Cumming, GA 30040



Daniel Zepeda Cossio                    Datagroup Technologies, Inc.        David McConnell White
131 Bridgers Road                       Attn: Manager, Agent, Officer       1520 Crenshaw Point
Princeton, NC 27569                     100 Fox Haven Drive                 Wake Forest, NC 27587
                                        Greenville, NC 27858



Davidson and Jones Construction         De Lage Landen Financial Services   Dean's Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1207 Front Street, Ste. 200             1111 Old Eagle School Rd            3200 Northside Drive
Raleigh, NC 27609                       Wayne, PA 19087                     Raleigh, NC 27615



Dean's Wrecker Service, Inc.            DeLage Landen Financial             Dell Business Credit
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
6901 Old Wake Forest Road               PO Box 41602                        PO Box 5275
Raleigh, NC 27616                       Philadelphia, PA 19101-1602         Carol Stream, IL 60197-5275



Delta Contracting, Inc.                 Denton Contracting                  Digiacomo Land Surveying PLLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
580 Trollingwood Road                   2916 Nahunta Rd                     4845 Frankie Road
Haw River, NC 27258                     Pikeville, NC 27863                 Fuquay Varina, NC 27526



Dillard's Tree Service LLC              Dillon Supply Co                    Directional Services, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
6862 Brookbank Rad                      PO Box 896595                       PO Box 385
Summerfield, NC 27358                   Charlotte, NC 28289-6595            Hope Mills, NC 28348
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Dixon Paving and Milling, Inc.           Double R Vending Inc.                 Draper Aden Associates
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 598                               2624 Hamlin Road                      1030 Wilmer Ave
Zebulon, NC 27597                        Durham, NC 27704                      Richmond, VA 23227



Driven Contractors                       Duke Realty                           Dun-Right Services Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
701 W. Dr. Martin Luther King Jr Dr      8001 T W Alexander Drive              1516 West Palmetto Street
Maxton, NC 28364                         Raleigh, NC 27617                     Florence, SC 29501



DWB Speed & Custom, LLC                  E R Lewis Construction Co Inc.        E S Chachi Concrete, LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
1176 Gibson Branch Road                  PO Box 565                            4423 Pine Need Lane
Maysville, NC 28555                      Greenville, NC 27835                  Sophia, NC 27350



E. Zurdo Trucking, Inc.                  Eagle Rock 50, LLC                    Eagle Rock Concrete LLC
Attn: Manager, Agent, Officer            2nd Floor 21 York Place               Attn: Manager, Agent, Officer
302 Indian Trail                         2900 Highwoods Blvd                   8311 Bandford Way Ste. 007
Wendell, NC 27591                        Raleigh, NC 27604                     Raleigh, NC 27615



Earthtec of NC Inc.                      East Coast Drilling & Blasting Inc.   Eastern Access & Security LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 130                               481 Airport Rd                        5488 Gilbert School Rd
Sanford, NC 27331                        Louisburg, NC 27549                   Grifton, NC 28530



Eastern Earthscapes & Construction       Eastern NC Underground Inc            ECLS Global Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
3109 NC Hwy 222 E                        96 Red Angus Drive                    PO Box 1029
Stantonsburg, NC 27883                   Smithfield, NC 27577                  Coats, NC 27521



EcoTurf Inc                              Edwards Inc.                          Efrain Herrera
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         105 Spring Drive
PO Box 91505                             3530 US 421 North                     Dudley, NC 28333
Raleigh, NC 27675                        Wilmington, NC 28401



EJ USA, Inc.                             Electrical Contracting Svcs of NC     Ellington Contractors Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 644873                            7630 US Hwy 117 N                     4617 Zebulon Road
Pittsburgh, PA 15264-4873                Fremont, NC 27830                     Zebulon, NC 27597



Ellington Digital Forensics, LLC         Engs Commercial Finance Co.           Enhanced Protective Industrial Coa
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 1202                              PO Box 128                            PO Box 38338
Wake Forest, NC 27587                    Itasca, IL 60143                      Greensboro, NC 27438
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Enterprise Fleet Management, Inc.     Environmental Conservation Lab       EPC Material Placement LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 800089                         10775 Central Port Drive             1000 Duncan Farm Rd
Kansas City, MO 64180                 Orlando, FL 32824                    Siler City, NC 27344



EquipmentWatch                        Eric Torres                          Erosion Control Solutions LLC
Attn: Manager, Agent, Officer         9400 Triston Court                   Attn: Manager, Agent, Officer
24653 Network Place                   Kenly, NC 27542                      10340 Globe Road
Chicago, IL 60673-1246                                                     Morrisville, NC 27560



Erosion Supply Company                Etowah Explosives LLC                Evelyn Baysden Trucking Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 125                            PO Box 3081                          PO Box 799
Jensen Beach, FL 34958                Cartersville, GA 30120               Gloucester, VA 23061



Evoqua Water Technologies LLC         Excel Concrete Cutting Inc.          Excel Hose & Hydraulics
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
2650 Tallevast Rd                     8801 Durant Nixon Road               PO Box 848
Sarasota, FL 34243                    Linden, NC 28356                     Farmville, VA 23901



Extra Duty Solutions                  Extra Space Management Inc.          F and S Land Management, LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
1 Waterview Drive Ste 101             2795 E. Cottonwood Pkwy #400         439 Eva James Road
Shelton, CT 06484                     Salt Lake City, UT 84121             Warsaw, NC 28398



F&S Grading Company, LLC              Faidley Consulting and Investments   Falcon Engineering, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
439 Eva James Road                    920 NW 132 Avenue                    PO Box 4309
Warsaw, NC 28398                      Sunrise, FL 33325                    Cary, NC 27519



FastMed Urgent Care                   Faulconer Construction Co            Fayetteville PWC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
935 Shotwell Rd., Ste. 108            2496 Old Ivy Road                    955 Old Wilmington Rd
Clayton, NC 27520-5598                Charlottesville, VA 22903            Fayetteville, NC 28302



FEI                                   Ferguson Enterprises                 Ferguson Enterprises, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 8774                           PO Box 100289                        190 North Oberlin Ave
Greensboro, NC 27419                  Atlanta, GA 30384-0286               Lakewood, NJ 08701



First Citizens Bank                   First Citizens Bank                  First Citizens Bank & Trust Co
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
Mail Code CLN82                       PO Box 63068                         PO Box 25187
Raleigh, NC 27603                     Charlotte, NC 28263-3068             Raleigh, NC 27611-5187
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First Citizens Credit Card             First Financial Holdings, LLC      First Horizon
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 63001                           750 The City Drive S., Ste. 300    1 Corporate Drive, Ste. 360
Charlotte, NC 28263-3001               Orange, CA 92868                   Lake Zurich, IL 60047-8945



Fitzgerald Truck Parts                 Fogleman Landfill                  Ford Companies, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1225 Livingston Hwy                    4005 Intermere Road                35 Syphrona Circle
Byrdstown, TN 38549                    Durham, NC 27704                   Clayton, NC 27527



Forever Clean Portable Toilets, Inc    Fortiline, Inc.                    Fourth Elm Construction LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
116 West Academy Street                PO Box 744053                      408 E. Mountain Street
Fuquay Varina, NC 27526                Atlanta, GA 30384-4053             Kernersville, NC 27824



Fred Adams Paving Co., Inc.            Fredy Valencia Guzman              Freeman Concrete Co Inc
Attn: Manager, Agent, Officer          439 Old Jason Rd                   Attn: Manager, Agent, Officer
PO Box 227                             La Grange, NC 28551                PO Box 402
Morrisville, NC 27560                                                     Rocky Point, NC 28457



Frye Fence Co., Inc.                   Fulcher Electric of Fayetteville   G Civil Erosion Control LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
3221 Durham Drive, Ste. 115            PO Box 2799                        703 Anson Street
Raleigh, NC 27603                      Fayetteville, NC 28302             Wilson, NC 27893



Gaines Oil Company                     Garcia's Masonry                   Garley Rebar, LLC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 421                             156 W. Shaw Mill Road              PO Box 836
Goldston, NC 27252                     Saint Pauls, NC 28384              Smithfield, NC 27577



Garris Grading & Paving, Inc.          Garrison Enterprises, Inc.         Gaskins Design Group Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
5950 Gay Road                          211 West Elmer Road                420 W. Hanrahan Road
Farmville, NC 27828                    Vineland, NJ 08360                 Grifton, NC 28530



GATS Investments, LLC                  Geneva Capital                     Geolnnovation, PC
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
135 Buckthorn Court                    1311 Broadway Street               402 Jewell Point
Mount Gilead, NC 27306                 Alexandria, MN 56308               Wilmington, NC 28411



George's Body Shop                     Geotechnics Inc.                   GETSCo, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
175 Claridge Nursery Road              544 Braddock Ave                   PO Box 159
Goldsboro, NC 27530                    East Pittsburgh, PA 15112          Middlesex, NC 27557
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Global Crane Services                     Global Industrial                 GM Financial
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 18624                              29833 Network Place               PO Box 78143
Greensboro, NC 27419                      Chicago, IL 60673-1298            Phoenix, AZ 85062-8143



Gomez & Son's Construction Inc.           Gomez & Sons Construction, LLC    Gon & Clark Group, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
147 Meghan Circle                         375 Madison Avenue                29 Reilly Court
Selma, NC 27576                           Princeton, NC 27569               Metuchen, NJ 08840



Goodall Brazier Ltd.                      Goshen Medical Center Inc         GPAC, LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Leeds UK LS1 4BN                          PO Box 187                        116 W. 69 Street Ste 200
ENGLAND                                   Faison, NC 28341-0187             Sioux Falls, SD 57108



Grahams Construction Inc.                 GreatAmerica Financial Services   Green Resource LLC
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
27278 Andrew Jackson Hwy E, Ste. D        PO Box 660831                     PO Box 429
Delco, NC 28436                           Dallas, TX 75266-0831             Colfax, NC 27235



Greenville Utilities Commission           Gregory Poole Equipment Co.       Gregory Poole Equipment Co.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 1432                               PO Box 60457                      4807 Beryl Road
Charlotte, NC 28201-1432                  Charlotte, NC 28260               Raleigh, NC 27606



Griffeth Auto Glass Surfside Inc.         Guadalupe Gonzalez-Pineda         Gulley's Backhoe Service LLP
Attn: Manager, Agent, Officer             122 Nuggett Drive                 Attn: Manager, Agent, Officer
203 Cilmar Court                          Dudley, NC 28333                  108 Rossell Park Circle
Hampstead, NC 28443                                                         Garner, NC 27529



Gutierrez Asphalt Company                 H&A Directional Boring, LLC       Hall's Tree Service
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
5041 Derry Down Lane                      225 Sheep Rock Rd                 977 Ellis Road
Apex, NC 27539                            Snow Camp, NC 27349               Lumber Bridge, NC 28357



Hanes Geo Components                      HCSS                              HDR Engineering Inc of the Carol
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 60984                              PO Box 734695                     PO Box 74008202
Charlotte, NC 28260                       Dallas, TX 75373-4695             Chicago, IL 60674-8202



Heavy Equipment Leasing of NC             Heidelberg Materials Southeast    Herc Rentals, Inc.
Attn: Manager, Agent, Officer             Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
101 Preston Road                          300 East John Carpenter Freeway   PO Box 936257
Smithfield, NC 27577                      Irving, TX 75062                  Atlanta, GA 31193-6257
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Heritage Transportation Company         Highland Paving Co LLC                Highland Tank LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 2115                             PO Box 1843                           PO Box 645620
Albemarle, NC 28002                     Fayetteville, NC 28302                Pittsburgh, PA 15264-5620



Hilco Transport, Inc.                   Hinnant's Electrical Service LLC      Hoke Emergency Group PC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 6307                             313 Parkins Drive                     210 Medical Pavilion Drive
Hermitage, PA 16148-0923                Emerald Isle, NC 28594                Raeford, NC 28376



Hurley Backhoe Services, Inc.           HydroExcavators LLC                   Imperium Global Search Ltd
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Sedulo, Ground Floor
116 Rock Hill Drive                     2095 Plunkett Rd                      St. Paul's House, 23 Park Square
Star, NC 27356                          Conyers, GA 30012                     Leeds UNITED KINGDOM



Insight Branding                        Insightsoftware, LLC                  Internal Revenue Service
Finance Department                      Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
4173 Raphael Street                     8529 Six Forks Road, Ste. 400         PO Box 7346
Covington, GA 30014                     Raleigh, NC 27615                     Philadelphia, PA 19101-7346



Intragrade                              J & A Utilities LLC                   J & N Hauling, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
4617 Zebulon Road                       169 Madison Avenue                    109 May Drive
Zebulon, NC 27597                       Princeton, NC 27569                   Smithfield, NC 27577



J&M Executive Leasing LLC               J.R. Hoe & Sons, Inc.                 James L. Morgan Trucking Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 790448                           PO Box1737                            2090 Turkey Trap Rd SW
Saint Louis, MO 63179-0448              Middlesboro, KY 40965                 Supply, NC 28462



James Rd Stump Dump                     James River Equipment                 Jarco Supply LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
420 James Road                          PO Box 745475                         PO Box 688
Clemmons, NC 27012                      Atlanta, GA 30374-5475                Youngsville, NC 27596



JENNS, LLC                              Jeremy Smith                          Jernigan Oil Company
Attn: Manager, Agent, Officer           118 Crosswinds Drive                  Attn: Manager, Agent, Officer
1809 Colwell Ave                        Goldsboro, NC 27530                   PO Box 688
Wilmington, NC 28403                                                          Ahoskie, NC 27910



John Deere Financial                    John R. Adams Co., Inc.               Jones and Associates
Attn: Manager, Agent, Officer           Attn: CT Corporation Sys, Reg Agent   Attn: Manager, Agent, Officer
PO Box 4450                             160 Mine Lake Court, Ste 200          4966 Old Tar Road
Carol Stream, IL 60197                  Raleigh, NC 27615                     Winterville, NC 28590
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Jose E. Sanchez                       JRT Asphalt LLC                    JSC Enterprises, LLC
203 Big Daddy's Rd                    Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Pikeville, NC 27863                   104 Harvest Lane                   PO Box 857
                                      Goldsboro, NC 27530                Goldsboro, NC 27533



JSC Holdings, LLC                     JSC Holdings, LLC                  Juan Rodriguez Sanchez
Attn: HLG Agent, LLC, Reg. Agent      Attn: Manager, Agent, Officer      109 Nuggett Drive
701 Corporate Center Dr Ste 250       PO Box 857                         Dudley, NC 28333
Raleigh, NC 27607                     Goldsboro, NC 27533



Juan Sandoval Carrasco                JWC Environmental Inc.             Jymco Construction Company
1709 Harrell Street                   Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
Goldsboro, NC 27530                   2850 S. Red Hill Ave, Ste. 125     1586 Yelverton Grover Road
                                      Santa Ana, CA 92705                Smithfield, NC 27577



Kaufman Trailers of NC                KCI Associates of North Carolina   Keith Grading and Hauling Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
702B N Silver Street                  PO Box 791479                      51 Morning Chase Lane
Lexington, NC 27292                   Baltimore, MD 21279-1479           Clayton, NC 27527



Kennedy Water Works                   Kevin Battle Trucking              King Tutt Graphics
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
125 6th Street, Suite 100             PO Box 801                         1113 Transport Drive
Mount Laurel, NJ 08054                Greenville, NC 27835               Raleigh, NC 27603



Knapheide Truck Equipment             Komatsu Financial                  Komatsu Financial Limited Part
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
3613 Jones Sausage Road               PO Box 99303                       8770 West Bryn Mawr Ave Ste 100
Garner, NC 27529                      Chicago, IL 60693                  Chicago, IL 60631



Komatsu Financial Limited Part        Komatsu Financial Limited Part     Komatsu Financial Limited Part
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
8771 West Bryn Mawr Ave Ste 100       8772 West Bryn Mawr Ave Ste 100    8773 West Bryn Mawr Ave Ste 100
Chicago, IL 60631                     Chicago, IL 60631                  Chicago, IL 60631



Komatsu Financial Limited Part        L.G. Jordan Oil Co., Inc.          L.L. Vann Electric, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
8774 West Bryn Mawr Ave Ste 100       PO Box 220                         833 Purser Drive
Chicago, IL 60631                     Apex, NC 27502                     Raleigh, NC 27603



LabCorp                               Land Levelers LLC                  Larry C. Parker
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer      106 Fort Street
PO Box 12140                          PO Box 916                         Pikeville, NC 27863
Burlington, NC 27216-2140             Morrisville, NC 27560
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Leaf                                    Lehigh Hanson                     Lemon's Backhoe & Loader Servic
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 5066                             PO Box 412345                     PO Box 422
Hartford, CT 06102-5066                 Boston, MA 02241-2345             Troy, NC 27371



Lennar Companies                        Linder Industrial Machinery       Lindsay Precast LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1100 Perimeter Park Dr Ste 112          PO Box 743637                     PO Box 580
Morrisville, NC 27560                   Atlanta, GA 30374-3637            Franklinton, NC 27525



LKC Engineering, PLLC                   LMJ Pavement Marking LLC          Lucas Pavement Maintenance & C
Attn: Adam P. Kiker, Reg. Agent         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
140 Aqua Shed Court                     76 Oak Fern Lane                  1101 Diane Blvd
Aberdeen, NC 28315                      Willow Spring, NC 27592           Kinston, NC 28504



Luna's Welding & Construction LLC       Mac Jones Construction LLC        Mac-Con Concrete Construction In
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1429 W Hanrahan Rd                      PO Box 610                        PO Box 1689
Ayden, NC 28513                         Pine Level, NC 27568              Clayton, NC 27528



Mack Industries                         Mainline Construction, LLC        Mangum's
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 936468                           332 Potters Hill Rd               PO Box 7177
Atlanta, GA 31193-6468                  Richlands, NC 28574               Wilson, NC 27895



Mangum's Towing and Road Service        Marco Lopez Perez                 Margarito Maldonado-Morales
Attn: Manager, Agent, Officer           1839 N. McCullen Road             425 Chelsea Drive
2811 Yukon Road                         Faison, NC 28341                  Snow Hill, NC 28580
Wilson, NC 27893



Markham, Mitchell & Stroud, PLLC        Marks Clearing and Grading, Inc   Marshall's Construction Asphalt
Attn: Ralph D. Stroud, Jr.              Attn: Tyler Marks, Reg. Agent     Attn: Manager, Agent, Officer
PO Box 10788                            5537 Watkins Road                 3983 W. Old Spring Hope Road
Goldsboro, NC 27532                     Wendell, NC 27591                 Nashville, NC 27856



Martin Marietta                         Marvin Joseph Beaman, Jr.         Matthew K. Lilly
Attn: Manager, Agent, Officer           1240 O'Berry Road                 Bradley Arant Boult Cummings LLP
PO Box 935043                           Mount Olive, NC 28365             214 North Tryon Street 3700
Atlanta, GA 31193-5043                                                    Charlotte, NC 28202-1078



MC Turrone, Inc.                        McDavid Associates, Inc.          McGriff Insurance Services Inc
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 403                              PO Drawer 49                      214 N Tryon Street 46
Simpson, NC 27879                       Farmville, NC 27828               Charlotte, NC 28202
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McLamb Development, LLC                  Mecklenburg Restoration, LLC       Mercer Transportation Co.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 105                               4012 N. Graham Street              PO Box 644011
Smithfield, NC 27577                     Charlotte, NC 28206                Pittsburgh, PA 15264-4011



Metalcrafters of Wayne Co Inc.           METCON                             MHC Kenworth-Clinton
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
584 Isaac Smith Road                     3050 Hammond Business Place        PO Box 879269
Goldsboro, NC 27530                      Raleigh, NC 27603                  Kansas City, MO 64187-9269



Michael Page International, Inc.         Micro-Comm Inc                     Mike Oehler Trucking, Inc.
Attn: 392604                             Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
500 Ross Street 154-0460                 15895 S. Pflumm Rd                 12310 Jimmy Oehler Road
Pittsburgh, PA 15262-0001                Olathe, KS 66062                   Charlotte, NC 28269



MKH Search Limited                       Mobile Mini Inc                    Monteith Construction Corp.
71-75 Shelton Street                     Attn: Manager, Agent, Officer      Attn: N. John Monteith, Reg. Agent
London, Greater London WC2H 9JQ          4646 E Van Buren St., Ste 400      208 Princess Street
UNITED KINGDOM                           Phoenix, AZ 85008                  Wilmington, NC 28401



Mr. Rooter Plumbing of Pitt & Wake       Nash County Tax Collector          National Equipment Dealers LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Dept 720049
4735 J Reedy Branch Rd                   120 W Washington Street Ste 2058   PO Box 1335
Winterville, NC 28590                    Nashville, NC 27856                Charlotte, NC 28201-1335



National Trench Safety                   NAWIC                              NC Department of Revenue
Attn: Manager, Agent, Officer            c/o Custom Building Co             Office Serv. Div, Bankruptcy Unit
PO Box 750963                            PO Box 781                         P.O. Box 1168
Houston, TX 77275-0963                   Greenville, NC 27835               Raleigh, NC 27602-1168



NC Department of Transportation          NC Earthworks Inc                  NC Elite Contracting LLC
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1 S. Wilmington Street                   4221 NC 11 North                   175 Batten Pond Rd
Raleigh, NC 27601                        Greenville, NC 27834               Selma, NC 27576



NCCU                                     NCDPS Central Engineering          Nehrenz Enterprises
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
616 E. Lawson Street                     2020 Yonkers Road                  7001 Cedric Drive
Durham, NC 27701                         Raleigh, NC 27699                  Raleigh, NC 27603



Neuse Colony Association Inc             New Atlantic Contracting Inc       New Field Inc
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
112 Jasmine Drive                        2635 Reynolds Road                 10451 Dow-Gil Road
Clayton, NC 27527                        Winston Salem, NC 27106            Ashland, VA 23005
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Next Level Cleaning Services            NextCare North Carolina             Nickelston Industries, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 30822                            PO Box 843833                       PO Box 83
Greenville, NC 27833                    Los Angeles, CA 90084-3833          Lawsonville, NC 27022



Nixon Contracting                       Noble Oil Services                  Norman Retaining Walls
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
5072 Glendale Road                      PO Box 4419                         117 Trackside Road
Kenly, NC 27542                         Sanford, NC 27331                   Troutman, NC 28166



NWR Construction, LLC                   NYC Underground Construction Inc.   Oldcastle Precast Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
127 Scaleybark Rd                       106 East Health Ave                 PO Box 402721
Charlotte, NC 28209                     Smithfield, NC 27577                Atlanta, GA 30384-2721



On-Site Hose Inc.                       Optum Bank                          Orlando Villapando
2nd Floor 21 York Place                 Attn: Manager, Agent, Officer       109 Nuggett Drive
1001-102 Goodworth Road                 12921 S Vista Station Blvd          Dudley, NC 28333
Apex, NC 27539                          Draper, UT 84020



Ormond Energy                           PA Turnpike Toll By Plate           PAB Logistics LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
9535 US 70                              PO Box 645631                       PO Box 536801
Princeton, NC 27569                     Pittsburgh, PA 15264-5254           Pittsburgh, PA 15253-6800



Pacific Trucking Inc.                   Paul D. Williams                    Paveway Systems Inc.
Attn: Manager, Agent, Officer           PO Box 1385                         Attn: Manager, Agent, Officer
1110 Navaho Drive Ste 107               Dunn, NC 28335                      114 Indian Lakes Lane
Raleigh, NC 27609                                                           Florahome, FL 32140



Peggy Person                            Penhall Company                     Pete Duty & Associates
3750 NC Highway 111 N                   Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
Pikeville, NC 27863                     PO Box 842911                       2219 Leah Drive
                                        Los Angeles, CA 90084-2911          Hillsborough, NC 27278



Phelps Tree Service, Inc.               Piedmont Automation, Inc            Pineville West
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
320 Furlough Road                       154 Kapp Street                     23 Waltrus Drive
Creswell, NC 27928                      Winston Salem, NC 27105             Clayton, NC 27527



Pinion Grading and Clearing Inc         Pipeline Restoration Services       Pirtek Sound End
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
1390 Langdon Road                       1725 Corcus Ferry Road              3401 Saint Vardell Lane, Ste. K
Angier, NC 27501                        Hampstead, NC 28443                 Charlotte, NC 28217
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PNC Bank                              PNC Commercial Loan                 PNC Credit Card
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 3180                           PO Box 340777                       PO Box 3180
Pittsburgh, PA 15230-3180             Pittsburgh, PA 15230-7777           Pittsburgh, PA 15230-3180



PNC Equipment Finance                 PNC Equipment Finance, LLC          Precast Solutions
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
PO Box 94931                          995 Dalton Avenue                   PO Box 127
Cleveland, OH 44101-4931              Cincinnati, OH 45203                Browns Summit, NC 27214



Precision Earth & Pipe LLC            Preston H. Roberts, Inc.            ProClean Property Management
Attn: Manager, Agent, Officer         DBA CJGeo/Concrete Jack             Attn: Manager, Agent, Officer
2000 Brentwood Rd Unit #9             3402 Acorn Street, Ste. 101         PO Box 617
Raleigh, NC 27604                     Williamsburg, VA 23188              Tarboro, NC 27886



Professional Touch                    ProSite, LLC                        Protecs
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
31 Brook Meadow                       675 Ervin Farm Rd                   5110 Campus Drive
La Grange, NC 28551                   Mooresville, NC 28115               Plymouth Meeting, PA 19462



Public Works Commission               Purpose Driven Seeding & Mulching   Quality Asphalt Service Inc
PWC Operations Complex                Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
955 Old Wilmington Road               1337 Brayboy Rd                     PO Box 1170
Fayetteville, NC 28301                Rowland, NC 28383                   Coats, NC 27521



Quality Oil Company LLC               Quality Pavement Repair             R. Lee Robertson, Jr.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Robertson & Associates, PA
PO Box 2736                           PO Box 930134                       2730 East W T Harris Blvd #101
Winston Salem, NC 27102               Atlanta, GA 31193-0134              Charlotte, NC 28213



Ragland Productions                   Rah Trucking                        RailPros Field Services, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
250 West Main Street                  2432 Impatien Drive                 1320 Greenway Drive, Ste. 490
Clayton, NC 27520                     Charlotte, NC 28215                 Irving, TX 75038



Rain for Rent                         Raleigh Office 1, LLC               RamTool Construction Supply Co
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer       Attn: Manager, Agent, Officer
4350 Golf Acres Drive                 150 Greenwich Street, FL 52         PO Box 743487
Charlotte, NC 28208                   New York, NY 10007-2446             Atlanta, GA 30374-3487



Ranger Engineering Consulting Inc     Raul Tolentino Andres               Razorback Boring, Inc.
Attn: Manager, Agent, Officer         102 Burl Drive                      Attn: Manager, Agent, Officer
3111 N. Caden Ct., Ste. 200           Princeton, NC 27569                 PO Box 1010
Flagstaff, AZ 86004                                                       Morrisville, NC 27560
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Ready Mix Concrete Company             Ricasha, Inc.                     RoadSafe Traffic Systems, Inc.
Argos USA LLC                          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 733134                          PO Box 1771                       8750 W Bryn Mawr Ave #400
Dallas, TX 75373-3134                  Robbinsville, NC 28771            Chicago, IL 60631



Roadworks Construction Company         Rob's Hydraulics, Inc.            Roberto Lopez Avila
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     570 Bogue Road
5401 Buckwood Drive                    PO Box 636                        Fremont, NC 27830
Apex, NC 27539                         Grimesland, NC 27837



Robinsons Water Works                  Rodrigo Castaneda-Garcia          Rogers Tapping Service
Attn: Manager, Agent, Officer          408 Lucky Oak Rd                  Attn: Manager, Agent, Officer
196 Johnnie Smith Road                 Goldsboro, NC 27530               2808 Connector Drive
Deep Run, NC 28525                                                       Wake Forest, NC 27587



Ronald Moore                           Ruppert Companies                 Ruston Paving Company, Inc.
326 Crantock Road                      Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Smithfield, NC 27577                   23601 Laytonsville Road           3874 South Alston Ave, Ste. 101
                                       Laytonsville, MD 20882            Durham, NC 27713



S & S Contracting and Landscaping      S & W Ready Mix Concrete Co       S&ME, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
6349 River Road                        PO Box 930266                     PO Box 277523
Fuquay Varina, NC 27526                Atlanta, GA 31193-0266            Atlanta, GA 30384-7523



S.T. Wooten Corporation                Sadler Landscaping, LLC           Saf-Cut Concrete Cutting, Inc.
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
PO Box 2408                            8122 NC Hwy 32 S                  1317-108 Kirkland Road
Wilson, NC 27893                       Plymouth, NC 27962                Raleigh, NC 27603



Samet Corporation                      Samson Storm and Sewer            Second Wind Consultants
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
309 Gallimore Dairy Rd Ste 102         PO Box 1196                       136 West Street
Greensboro, NC 27409                   Benson, NC 27504                  Northampton, MA 01060



Secure Traffic Control Inc.            Seegars Fence Co of Raleigh       Seegars Fence Co. - Greensboro
Attn: Manager, Agent, Officer          Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
102 E. Heath Ave                       PO Box 98206                      PO Box 19406
Smithfield, NC 27577                   Raleigh, NC 27624                 Greensboro, NC 27419



Servando Castaneda-Herrera             Sharpe Business Systems           Sharpe Co.
2546 Indian Springs Rd                 Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Dudley, NC 28333                       Dept AT 40322                     PO Box 90028
                                       Atlanta, GA 31192-0322            Charlotte, NC 28290
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Shaun Lakey Excavating LLC            Shawmine LLC                      Shelco
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
309 Johnson Farm Rd                   PO Box 3167                       3600 Glenwood Ave., Ste. 300
Hiddenite, NC 28636                   Wilmington, NC 28406              Raleigh, NC 27612



Shelley McPhatter                     Sherwin Williams                  Simmons Public Utility Site Work
1520 Crenshaw Point                   Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
Wake Forest, NC 27587                 101 West Prospect Ave             6545 Dothan Road
                                      Cleveland, OH 44115               Tabor City, NC 28463



Site Shots LLC                        Sitebox Storage                   SiteOne Landscape Supply Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
2515 Straford Crossing Rd             4340 S West Street                300 Colonial Center Parkway, #600
Winston Salem, NC 27103               Wichita, KS 67217                 Roswell, GA 30076



SiteOne Landscape Supply LLC          Skyrock Construction LLC          Slurry Pavers, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
24110 Network Place                   1000 Olde Milburnie Rd., Ste. A   3617 Nine Mile Road
Chicago, IL 60673-1241                Raleigh, NC 27604                 Richmond, VA 23223



Smelcer Contractor Inc.               Smith Brothers Gas Co.            Smith Terry Johnson & Windle
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
3209 Boone Trail                      PO Box 219                        11525 N Community House Rd #42
Fayetteville, NC 28306                Magnolia, NC 28453                Charlotte, NC 28277



Smith-Midland                         Smith-Rowe, LLC                   Smithfield Sign Design, Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
654 Freeway                           639 Old US 52 South               331 Peedin Road
Reidsville, NC 27320                  Mount Airy, NC 27030              Smithfield, NC 27577



Soilworks Inc.                        Soule Law Firm PLLC               Southern Auto Parts
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
1109 Sumter Court                     PO Box 97552                      101 NW Railroad Street
Salisbury, NC 28144                   Raleigh, NC 27624                 Pikeville, NC 27863



Southern Sign of NC                   Southern Stone and Block LLC      Spence Water Systems
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Attn: Manager, Agent, Officer
119 Carriage Road                     120 East Morehouse Ave            1407 Rhem Street
Goldsboro, NC 27534                   Mooresville, NC 28117             Kinston, NC 28501



Square Solutions LLC                  Stafford Land Company, Inc.       Stamford International LTD
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer     Montacs, Intl House, Kingsfield Ct
125 Sambar Deer Lane                  246 Valleyvield Lane              Chester Business House, CH4 9RF
Garner, NC 27529                      Southern Pines, NC 28387          UNITED KINGDOM
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State Electric Supply Company           Stay Alert                         Stay Safe Traffic Control, LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
2010 2nd Avenue                         PO Box 467                         2027 West Garner Road
Huntington, WV 25703                    Kernersville, NC 27285-0467        Garner, NC 27529



Stone Throwers LLC                      Stormwater Concepts Inc            Strickland Waterproofing Co., Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
504 Olive Branch Road                   4441-106 Six Forks Road #278       500 North Hoskins Road
Durham, NC 27703                        Raleigh, NC 27609                  Charlotte, NC 28216



Subsurface Construction Company         Summit Design and Engineering      Sunbelt Rentals, Inc.
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
1107 Fuller Street                      320 Executive Court                PO Box 409211
Raleigh, NC 27603                       Hillsborough, NC 27278             Atlanta, GA 30384-9211



Super Cast Inc                          Superior Concrete                  Superior Plus Propane
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 1894                             5351 Reedy Branch Rd               1870 Winston Road South Ste200
Goldsboro, NC 27534                     Winterville, NC 28590              Rochester, NY 14618



Surveying Solutions, P.C.               Suttles Surveying, P.A.            SW Promotions
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
307 East Main Street                    40 S. Main Street Ste 200          601-A North James Street
Youngsville, NC 27596                   Marion, NC 28752                   Goldsboro, NC 27530



Synergi Partners Inc.                   T-Mobile                           T.D. Goodwin Construction
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 5599                             PO Box 37380                       PO Box 3462
Florence, SC 29502-5599                 Albuquerque, NM 87176-4380         Greenville, NC 27836



TA Loving Company                       Takeuchi Financial Services        TamRon's Hauling, Grading/Landsc
Attn: Manager, Agent, Officer           Bank of the West                   Attn: Manager, Agent, Officer
PO Drawer 919                           PO Box 7167                        51 Lou Court
Goldsboro, NC 27533                     Pasadena, CA 91109-7167            Willow Spring, NC 27592



Tarheel Concrete                        Tarheel Tooling & Precision Mach   TBI Trucking
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 67                               PO Box 1063                        PO Box 128
Warsaw, NC 28398                        Smithfield, NC 27577               Ayden, NC 28513



TCA Durham Logistics Center             Team Work Safety, LLC              Tech USA LLC
Attn: Manager, Agent, Officer           Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
440 S. Church Street Ste 800            1006B N Bragg Blvd Ste 194         8334 Veterans Highway
Charlotte, NC 28202                     Spring Lake, NC 28390              Millersville, MD 21108
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Terracon                              The Car Park                          The East Group, PA
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 959673                         PO Box 781                            324 Evans Street
Saint Louis, MO 63195-9673            Raleigh, NC 27602                     Greenville, NC 27858



The Erosion Company, LLC              The John R McAdams Company            The Wooten Company
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
3207 South Cherokee Lane              621 Hillsborough Street Ste 500       300 S. Main Street
Woodstock, GA 30188                   Raleigh, NC 27603                     Winston Salem, NC 27101



Thomas Concrete of Carolina, Inc.     Thomas Construction                   Thompson-Arthur Division
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
DEPT AT 952698                        1022 Ashes Drive Ste 200              PO Box 21088
Atlanta, GA 31192-2698                Wilmington, NC 28405                  Greensboro, NC 27420-1088



Tina Smith                            Tom Cat Trucking, Inc.                Tom E. Chestnut & Son, LLC
118 Crosswinds Drive                  Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
Goldsboro, NC 27530                   4162 Kivett Drive                     PO Box 2972
                                      Jamestown, NC 27282                   Shallotte, NC 28459



Town of Apex                          Town of Cary                          Town of Faison
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
73 Hunter Street                      316 North Academy                     PO Box 365
Apex, NC 27502                        Cary, NC 27513                        Faison, NC 28341-0365



Town of Farmville                     Town of Holly Springs                 Town of Knightdale
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 86                             128 South Main Street                 950 Steeple Square Court
Farmville, NC 27828                   Holly Springs, NC 27540               Knightdale, NC 27545



Town of Magnolia                      Town of Middlesex                     Town of Mount Olive
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 459                            PO Box 69                             114 East James Street
Magnolia, NC 28453                    Middlesex, NC 27557                   Mount Olive, NC 28365



Town of Pikeville                     Town of Princeton                     Town of Selma
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
105 W School Street                   503 Doctor Donnie H Jones Dr Blvd W   114 N. Raiford Street
Pikeville, NC 27863                   Princeton, NC 27569                   Selma, NC 27576



Town of Smithfield                    Town of St. Pauls                     Town of Windsor
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 761                            210 W Blue Street                     PO Box 508
Smithfield, NC 27577                  Saint Pauls, NC 28384                 Windsor, NC 27983
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Town of Zebulon                       Traffic Control Safety Services Inc   Transaxle, LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
1003 N. Arendell Ave                  PO Box 24511                          PO Box 825382
Zebulon, NC 27597                     Winston Salem, NC 27114               Philadelphia, PA 19182-5382



Trejo Construction LLC                Trench Drain Supply                   Trew Backflow Testing & Irrigation
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
2130 Gurganus Road                    5621 Raby Road                        1531 Rains Crossroads
Snow Hill, NC 28580                   Norfolk, VA 23502                     Princeton, NC 27569



Tri-State Utilities                   Triangle Area Earth Corporation       Triangle Pond Management, LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
2111 Smith Avenue                     336 Deton Lane                        PO Box 61207
Chesapeake, VA 23320                  Zebulon, NC 27597                     Raleigh, NC 27661



Triple AAA Portable Toilets           Tripp Auto and Cycle Sales, Inc.      Tripp Bro's Inc.
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
5779 Manlley Smith Road               5823 NC 33E                           PO Box 128
Nakina, NC 28455                      Grimesland, NC 27837                  Ayden, NC 28513



Truist Bank                           Truist Equipment Finance Corp         Turf Services, LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 896024                         PO Box 4418                           403 Pickens Drive
Charlotte, NC 28289-6024              Atlanta, GA 30302                     Goldsboro, NC 27530



Unifirst Corporation                  United Rentals                        Universal Search Group Limited
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         2nd Floor, 21 York Place
PO Box 650481                         PO Box 100711                         Leeds LS1 2EX
Dallas, TX 75265-0481                 Atlanta, GA 30384-0711                UNITED KINGDOM



US Standard Products                  Utilities Conservation Company        Vance-Granville Community College
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
PO Box 5509                           PO Box C                              210 W. Ridgeway Street
Englewood, NJ 07631                   North East, MD 21901                  Warrenton, NC 27589



Vermeer All Roads                     Vernon Stapleton                      Vertical Walls, Inc.
Attn: Manager, Agent, Officer         549 Siloam Lane                       Attn: Manager, Agent, Officer
925 Merritt Blvd                      South Shore, KY 41175                 710 W. Lane Street
Dundalk, MD 21222                                                           Raleigh, NC 27603



Vision NC                             Vortex Drainage Systems, LLC          Vulcan Construction Materials, LLC
Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer         Attn: Manager, Agent, Officer
7424 ACC Blvd., Ste. 106              1113 Fairview Street                  PO Box 75219
Raleigh, NC 27617                     Durham, NC 27707                      Charlotte, NC 28275
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W W Landscaping Inc                      Wade Moore Equipment Co              Wake County Tax Collector
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
4403 NC 122 S                            9712 Dorval Avenue                   P.O. Box 2331
Macclesfield, NC 27852                   Upper Marlboro, MD 20772             Raleigh, NC 27602



Wake Stone Corporation                   Wall Recycling, LLC                  Walter Heilig Trucking
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 190                               PO Box 749566                        12815 Old Beatty Ford Road
Knightdale, NC 27545                     Atlanta, GA 30374-9566               Rockwell, NC 28138



Ward and Smith, P.A.                     Water & Waste Systems Construction   Water Works, Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Kennedy Culvert & Supply
PO Box 867                               14 Apothecary Court                  125 Sixth Avenue, Ste. 100
New Bern, NC 28563-0867                  Garner, NC 27529                     Mount Laurel, NJ 08054



Waterproofing Specialities, Inc.         Watson Electrical Construction Co    Wayne County Tax Collector
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
8086 Waterford Drive                     1500 Charleston St SE                224 E. Walnut Street
Stanley, NC 28164                        Wilson, NC 27893                     Goldsboro, NC 27530



Wayne Grissett                           Weaver Trucking LLC                  Wells Fargo Bank, N.A.
1001 Russtown Road NW                    Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
Ocean Isle Beach, NC 28469               PO Box 985                           800 Walnut Street
                                         Angier, NC 27501                     Des Moines, IA 50309



Wells Fargo Bank, NA                     Wells Fargo Dealer Services          West Lawn & Landscaping LLC
Equipment & Vendor Finance               Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 77101                             PO Box 17900                         284 Reedy Creek Road
Minneapolis, MN 55480-7101               Denver, CO 80217-0900                Four Oaks, NC 27524



Westfield Insurance Company              Wex Bank                             WG Lewis Trucking, Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
PO Box 5001                              PO Box 6293                          PO Box 7081
Westfield Center, OH 44251               Carol Stream, IL 60197-6293          High Point, NC 27264



White Cap, L.P.                          White's International                White's Tractor & Truck
Attn: Manager, Agent, Officer            White/Herring Tractor & Truck        Attn: Manager, Agent, Officer
PO Box 4852                              PO Box 3817                          PO Box 3817
Orlando, FL 32802-4852                   Wilson, NC 27895                     Wilson, NC 27895



Whitehurst Sand Company                  Wiarcom, Inc.                        William Parrish Plumbing Inc
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer        Attn: Manager, Agent, Officer
233 Woodville Road                       6001 Savoy Drive, Ste. 202           504 Lewis Drive
Hertford, NC 27944                       Houston, TX 77036                    Carolina Beach, NC 28428
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Williams Land Clearing Grading           Williams Mullen                    Williams Scotsman, Inc.
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
PO Box 41671                             PO Box 800                         901 S Bond Street, Ste. 600
Raleigh, NC 27629                        Richmond, VA 23218-0800            Baltimore, MD 21231



Willoughby 2000, PLLC                    Wilson Clearing & Mulching         Windel Terry Bimbo Construction L
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Don Terry
PO Box 2255                              5948 New Hope Church Road          150 Milestone Way, Suite C
Davidson, NC 28036                       Wade, NC 28395                     Greenville, SC 29615



Xylem Dewatering Solutions, Inc.         Young Construction Company, Inc.   Zachary Construction
Attn: Manager, Agent, Officer            Attn: Manager, Agent, Officer      Attn: Manager, Agent, Officer
26717 Network Place                      2808 Connector Drive               8870 Westgate Drive
Chicago, IL 60673-1267                   Wake Forest, NC 27587              Raleigh, NC 27617



Zachary Industrial
Attn: Manager, Agent, Officer
200 Regency Forest Drive
Cary, NC 27518
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                                        United States Bankruptcy Court
                                          Eastern District of North Carolina
 In re    JSmith Civil, LLC                                                         Case No.
                                                            Debtor(s)               Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JSmith Civil, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 19, 2023                             /s/ Joseph Z. Frost
Date                                           Joseph Z. Frost
                                               Signature of Attorney or Litigant
                                               Counsel for JSmith Civil, LLC
                                               BUCKMILLER, BOYETTE & FROST, PLLC
                                               4700 Six Forks Road, Suite 150
                                               Raleigh, NC 27609
                                               919-296-5040 Fax:919-890-0356
                                               jfrost@bbflawfirm.com
